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~-_...» ., ; .v\_
' -»_ ..J'." ‘

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IN THE UNITED STATES DISTRICT COURT rig ti- _, .r,`

     

 

 

 

FoR THE WESTERN DISTRICT oF TENNESSEE ”“` H~“ l 5 £?: 8= 0 .I
WESTERN DIVISION k . _ _ _`
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"' 1-' :1';. ;-J.‘.;j.,-‘ -F FQ
UNITED STATES OF AMERICA l H"'
v.
4.
ANNIE RASH 03cr20504-B
ORDER ON ARRAIGNMEN'I`
This eause came to be heard o 5" , the United States Attomey
for this district appeared on behalf of the ment, and the def dant appeared in person and With
counsel:

NAME \-/OL , /&W M,¢_/I who is Retained/Appointed.
_‘_--__.-__'_'_

The defendant, through counsel, WBAI formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in Custody, may stand on his present bond.
t/'The defendant (no’c havin e bond) (being a Moner) (being:,r a federal

prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody
of the U.S. Marshal.

 

UNITED STATES MAGISTRATE ]UDGP

CHARGES ~ 18:641.F
PUBLIC MONEY, PROPERTY ORRECORDS

Attorney assigned to Case: R. Oliver

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ISIC COURT - WESERNT D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number l3 in
case 2:04-CR-20504 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

